        Case 24-41694-mxm11                                         Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                                                          Desc Main
                                                                          Document    Page 1 of 33
 Fill in this information to identify the case:

 Debtor name            Grand Fusion Housewares, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               24-41694
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         413,932.12

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         413,932.12


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,309,654.79


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,839,069.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,148,723.83




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
        Case 24-41694-mxm11                     Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                          Desc Main
                                                      Document    Page 2 of 33
Fill in this information to identify the case:

Debtor name          Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS

Case number (if known)        24-41694
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     US Bank                                           Checking                              6554                                           $0.00




           3.2.     US Bank                                           Checking                              7276                                        $450.46




           3.3.     Paypal                                            Money Account                                                                        $0.00




           3.4.     Bank of Texas                                     Checking                                                                    $98,952.06



4.         Other cash equivalents (Identify all)
                    Funds held by Amazon that are owned by the Debtor resulting from sales on
           4.1.     Amazon.com                                                                                                                    $49,334.10




5.         Total of Part 1.                                                                                                                  $148,736.62
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
        Case 24-41694-mxm11                     Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                 Desc Main
                                                      Document    Page 3 of 33
Debtor            Grand Fusion Housewares, LLC                                               Case number (If known) 24-41694
                  Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Lease Security Deposit with MLRP 1215 Crosby LLC                                                                     $32,630.88



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Prepaid vendors
                    Renco Industiral - $5,389.20
           8.1.     Cixi Yufe - $41,170.00                                                                                               $46,559.20




9.         Total of Part 2.                                                                                                          $79,190.08
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                     24,531.47      -                                   0.00 = ....                  $24,531.47
                                        face amount                            doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                          $24,531.47
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used    Current value of
                                              physical inventory            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale
           Inventory                                                                  Unknown         Replacement                       $161,473.95

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
      Case 24-41694-mxm11                      Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                 Desc Main
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Debtor       Grand Fusion Housewares, LLC                                                   Case number (If known) 24-41694
             Name




22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                         $161,473.95
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                                Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Tables, chairs, shelves, and other office
          furniture                                                                  $8,122.60                                           Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                   $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Grand Fusion Housewares, LLC                                              Case number (If known) 24-41694
              Name

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used     Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Trade Show booth items                                               $45,214.14                                           Unknown


           Warehouse equipment, including Zig Lifts,
           Pallet Jack with Scale                                               $43,852.15                                           Unknown




51.        Total of Part 8.                                                                                                            $0.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Various patents, trademarks, and other
           intellectual property.                                               $97,642.63                                           Unknown




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 4
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Debtor        Grand Fusion Housewares, LLC                                                 Case number (If known) 24-41694
              Name

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
        Case 24-41694-mxm11                                Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                                      Desc Main
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Debtor          Grand Fusion Housewares, LLC                                                                        Case number (If known) 24-41694
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $148,736.62

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $79,190.08

82. Accounts receivable. Copy line 12, Part 3.                                                                     $24,531.47

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $161,473.95

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $413,932.12           + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $413,932.12




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
        Case 24-41694-mxm11                           Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                        Desc Main
                                                            Document    Page 8 of 33
Fill in this information to identify the case:

Debtor name          Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

Case number (if known)              24-41694
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Celtic Bank Corporation                      Describe debtor's property that is subject to a lien                  $98,170.44                Unknown
       Creditor's Name                              Substantially all assets of the Debtor
       268 S. State Street
       Salt Lake City, UT 84111
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       January 2020                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       First Citizens Community
2.2                                                                                                                       $95,546.25                Unknown
       Bank                                         Describe debtor's property that is subject to a lien
       Creditor's Name                              Substantially all assets of the Debtor as more
                                                    fully set forth in applicable security
       39 King Arthur Drive                         agreement
       Mill Hall, PA 17751
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       9/30/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 5
      Case 24-41694-mxm11                           Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                      Desc Main
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Debtor      Grand Fusion Housewares, LLC                                                          Case number (if known)      24-41694
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.3   Midwest Regional Bank                       Describe debtor's property that is subject to a lien                     $179,956.25      Unknown
      Creditor's Name                             Substantially all of the Debtor's assets
      363 Festus Centre Drive
      Festus, MO 63028
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      August 2018                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   Propella Capital LLC                        Describe debtor's property that is subject to a lien                     $299,479.00         $0.00
      Creditor's Name                             Certain accounts receivable
      1820 Avenue M, #432
      Brooklyn, NY 11230
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      12/5/2023                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   Rapid Finance                               Describe debtor's property that is subject to a lien                      $45,770.86         $0.00
      Creditor's Name                             Substantially all assets of the Debtor as more
                                                  fully set forth in applicable security
      20 West Jefferson, Floor 11                 agreement
      Detroit, MI 48226
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 5
      Case 24-41694-mxm11                           Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                      Desc Main
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Debtor      Grand Fusion Housewares, LLC                                                          Case number (if known)      24-41694
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      December 2022                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.6   Silverline Services Inc.                    Describe debtor's property that is subject to a lien                      $76,159.00         $0.00
      Creditor's Name                             Certain accounts receivable
      265 Sunrise Highway, Suite
      236
      Rockville Centre, NY 11570
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      April 2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

2.7   Smart Business                              Describe debtor's property that is subject to a lien                      $97,632.00         $0.00
      Creditor's Name                             Certain accounts receivable
      561 NE 79th Street
      Miami, FL 33138
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

      U.S. Small Business
2.8                                                                                                                        $325,000.00      Unknown
      Administration                              Describe debtor's property that is subject to a lien



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 5
        Case 24-41694-mxm11                          Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                         Desc Main
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Debtor       Grand Fusion Housewares, LLC                                                          Case number (if known)       24-41694
             Name

       Creditor's Name                             Substantially all assets of the Debtor as more
       1545 Hawkins Blvd., Suite                   fully set forth in applicable security
       202                                         agreement
       El Paso, TX 79925
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       April 2020                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.9    Wells Fargo                                 Describe debtor's property that is subject to a lien                      $91,940.99              Unknown
       Creditor's Name                             Substantially all assets of the Debtor as more
       333 Market Street, 14th                     fully set forth in applicable security
       Floor                                       agreement
       San Francisco, CA 94105
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $1,309,654.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       9

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Propella Capital LLC
        c/o Tucker, Albin & Associates                                                                      Line   2.4
        1702 Collins Blvd., Suite 100
        Richardson, TX 75080




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 5
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Debtor    Grand Fusion Housewares, LLC                                       Case number (if known)   24-41694
          Name

      Silverline Services Inc.
      1334 Peninsula Blvd., Suite 160                                                Line   2.6
      Hewlett, NY 11557

      Silverline Services, Inc.
      c/o Zachter PLLC                                                               Line   2.6
      Jeffrey Zachter
      2 University Plaza, Suite 205
      Hackensack, NJ 07601

      Smart Business
      c/o Triton Recovery LLC                                                        Line   2.7
      3111 N. University Dr., Ste. 604
      Coral Springs, FL 33065




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                 page 5 of 5
        Case 24-41694-mxm11                         Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                              Desc Main
                                                         Document    Page 13 of 33
Fill in this information to identify the case:

Debtor name        Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF TEXAS

Case number (if known)          24-41694
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          California State Comptroller                        Check all that apply.
          300 Capitol Mall, Suite 1850                         Contingent
          Sacramento, CA 95814                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          Internal Revenue Service                            Check all that apply.
          Special Procedures - Insolvency                      Contingent
          P.O. Box 7346                                        Unliquidated
          Philadelphia, PA 19101-7346                          Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   $0.00
          Texas Comptroller of Public                          Check all that apply.
          Accounts                                              Contingent
          Bankruptcy & Collection Division                      Unliquidated
          MC 008                                                Disputed
          P.O. Box 12548
          Austin, TX 78711-2548
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $78.22
          3CG Refundsniper LLC                                                Contingent
          961 Broadway, Suite 118                                             Unliquidated
          Woodmere, NY 11598                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $270.60
          3S Design & Innovation                                              Contingent
          Flat E, JJ Apartments, No. 7                                        Unliquidated
          Rangapillai Street                                                  Disputed
          Pondicherry, 605001 India
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,277.65
          Acosta Inc.                                                         Contingent
          PO Box 281996                                                       Unliquidated
          Atlanta, GA 30384-1996                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,442.83
          All Star Houseware Ltd                                              Contingent
          Room 1505-1512, No 3                                                Unliquidated
          Greenland Technology Bldg, Lane 58                                  Disputed
          Xin Jian East Road Shanghai 201199 China
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,246.00
          Alliance Funding Group                                              Contingent
          17542 17th Street #200                                              Unliquidated
          Tustin, CA 92780                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $71,827.47
         American Express                                           Contingent
         P.O. Box 981535                                            Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1002
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $60,911.77
         American Express                                           Contingent
         P.O. Box 981535                                            Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9.41
         Barbara Schuman                                            Contingent
         57 Roundtop Road                                           Unliquidated
         Yonkers, NY 10710                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,320.46
         Boxed LLC                                                  Contingent
         Dept 2447                                                  Unliquidated
         PO Box 122447                                              Disputed
         Dallas, TX 75312
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,309.72
         Brendan Bauer                                              Contingent
         5636 Montreaux Drive                                       Unliquidated
         Frisco, TX 75034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $459,309.19
         Brendan Bauer                                              Contingent
         5636 Montreaux Drive                                       Unliquidated
         Frisco, TX 75034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $22,660.78
         Capital One                                                Contingent
         P.O. Box 60599                                             Unliquidated
         City Of Industry, CA 91716-0599                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 6185
                                                                   Is the claim subject to offset?    No  Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $551,044.79
         Cixi Yufei Import & Export Company                         Contingent
         Room 1903                                                  Unliquidated
         Friendship Building, No. 558 Renhe Rd.                     Disputed
         Cixi City 315300, Zhejiang Prov. China
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $325.00
         Commercial Service Department                              Contingent
         901 Jupiter Road                                           Unliquidated
         Plano, TX 75074                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $115.97
         CouponBirds                                                Contingent
         2443 Fillmore Street 380-3240                              Unliquidated
         San Francisco, CA 94115                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,004.72
         D&H Marketing Group Inc.                                   Contingent
         PO Box 1229                                                Unliquidated
         Burgaw, NC 28425                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $886.52
         Dana Knowles                                               Contingent
         310 Wilson Street                                          Unliquidated
         Martinsburg, WV 25401                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $334.10
         Dierbergs Markets                                          Contingent
         PO Box 66513                                               Unliquidated
         Saint Louis, MO 63166                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $82.63
         DSD Group Inc                                              Contingent
         17025 Kingsview Avenue                                     Unliquidated
         Carson, CA 90746                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $781.20
         Elizabeth Go                                               Contingent
         11338 Knoll Chest Dr.                                      Unliquidated
         Fontana, CA 92337                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $654.34
         Elizabeth Perez                                            Contingent
         2081 Ashbourne Drive                                       Unliquidated
         Rockwall, TX 75087                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,720.68
         Flock Freight Inc.                                         Contingent
         Dept LA 24808                                              Unliquidated
         Pasadena, CA 91185                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $35,498.87
         Flying Cork Media LLC                                      Contingent
         320 Ft. Duquesne Blvd. Suite 200                           Unliquidated
         Pittsburgh, PA 15222                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $326.69
         G3 Consulting LLC                                          Contingent
         902A S. Walton Blvd., Ste. 1, Unit 235                     Unliquidated
         Bentonville, AR 72712                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,036.78
         GBS Labeling                                               Contingent
         3658 Wyoga Lake Rd                                         Unliquidated
         Stow, OH 44224                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,578.37
         Gentile-Lichter Associates                                 Contingent
         8901 Amherst Avenue                                        Unliquidated
         Margate City, NJ 08402                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $41.23
         Gourmet Catalog                                            Contingent
         3311 Oak Lawn Ave., Suite 350                              Unliquidated
         Dallas, TX 75219                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,792.40
         Hanover Insurance                                          Contingent
         440 Lincoln Street                                         Unliquidated
         Worcester, MA 01653                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,284.70
         Hilton Blieden                                             Contingent
         12 Partridge                                               Unliquidated
         Irvine, CA 92604                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,707.13
         Hilton Blieden                                             Contingent
         12 Partridge                                               Unliquidated
         Irvine, CA 92604                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $398.78
         Idea Galleria Designs LLC                                  Contingent
         Talia Afoa                                                 Unliquidated
         717 N. 5th Avenue Apt. B                                   Disputed
         Wilmington, NC 28401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,820.00
         Imagination Products Corp.                                 Contingent
         227 W. Cedar Street                                        Unliquidated
         Chillicothe, IL 61523                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,550.00
         Information Resources, Inc.                                Contingent
         203 N. LaSalle Street                                      Unliquidated
         Chicago, IL 60601                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $11,856.92
         Integrated Logistics 2000 LLC                              Contingent
         PO Box 8372                                                Unliquidated
         Virginia Beach, VA 23450                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,968.00
         IPFS Corporation of California                             Contingent
         PO Box 412086                                              Unliquidated
         Kansas City, MO 64141                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $159.09
         J&A Designs LLC                                            Contingent
         Anne McMahon                                               Unliquidated
         2476 Mirror Lake Drive                                     Disputed
         Virginia Beach, VA 23453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,285.00
         JD Logistics United States Company                         Contingent
         13200 Loop Road                                            Unliquidated
         Fontana, CA 92337                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,150.00
         Jokari US, Inc.                                            Contingent
         585 Alpha Drive                                            Unliquidated
         Pittsburgh, PA 15238                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $875.56
         Kathy Baker & Assoc Inc.                                   Contingent
         12021 E. 32nd Avenue                                       Unliquidated
         Spokane, WA 99206                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $80,460.58
         Lee & Associates                                           Contingent
         14950 Quorum Drive, Suite 100                              Unliquidated
         Dallas, TX 75254                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $474.90
         Martin & Associates                                        Contingent
         2101 Woodhaven Drive                                       Unliquidated
         Prosper, TX 75078                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13.68
         MLR Innovations Inc.                                       Contingent
         13-11 145 Place                                            Unliquidated
         Whitestone, NY 11357                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,725.52
         Modaliti LLC                                               Contingent
         1064 E. 2100S #19                                          Unliquidated
         Salt Lake City, UT 84106                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $9,968.94
         Mueller Yurgae Associates                                  Contingent
         2155 E. 129th Street                                       Unliquidated
         Olathe, KS 66062                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $11,008.98
         Parker & Bailey Corp                                       Contingent
         4 Walpole Park                                             Unliquidated
         Walpole, MA 02081                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,260.46
         Peachy Clean                                               Contingent
         Devine Products LLC                                        Unliquidated
         PO Box 1068                                                Disputed
         Dalton, GA 30722
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,886.33
         Priority-1 Inc                                             Contingent
         PO Box 840808                                              Unliquidated
         Dallas, TX 75284                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 13
       Case 24-41694-mxm11                     Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                           Desc Main
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Debtor      Grand Fusion Housewares, LLC                                                    Case number (if known)            24-41694
            Name

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $493.73
         Product Concepts & Solutions LLC                           Contingent
         PO Box 1445                                                Unliquidated
         Euless, TX 76039                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $244.45
         PSI Inc.                                                   Contingent
         275 N. 1300 E #201                                         Unliquidated
         Lewiston, UT 84320                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,525.46
         QVC                                                        Contingent
         1200 Wilson Drive                                          Unliquidated
         West Chester, PA 19380                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $429.45
         RCJ - Ron Johnson                                          Contingent
         5540 Nolan Avenue N.                                       Unliquidated
         Oak Park Heights, MN 55082                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,118.80
         Republic Services                                          Contingent
         PO Box 78829                                               Unliquidated
         Phoenix, AZ 85062                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,305.22
         RLR Marketing                                              Contingent
         830 Grove Avenue                                           Unliquidated
         Morris, IL 60450                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $68.13
         Schaefer Associates, Inc.                                  Contingent
         2158 Indian Avenue S                                       Unliquidated
         Bellair Bluffs, FL 33770                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 13
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Debtor      Grand Fusion Housewares, LLC                                                    Case number (if known)            24-41694
            Name

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $39.36
         Sourcing Services International, Inc.                      Contingent
         2313 Tremont Blvd.                                         Unliquidated
         McKinney, TX 75071                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9.00
         SSI Products, LLC                                          Contingent
         598 N. Beach St. #104                                      Unliquidated
         Fort Worth, TX 76111                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,635.50
         Stanza International LLC                                   Contingent
         13896 Magnolia Avenue                                      Unliquidated
         Chino, CA 91710                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $936.10
         Supermarket Representatives Inc.                           Contingent
         4 Kuhl Avenue                                              Unliquidated
         Hicksville, NY 11801                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,158.65
         Synergy Sales Associates                                   Contingent
         601 N. Orlando Avenue                                      Unliquidated
         Suite 209                                                  Disputed
         Maitland, FL 32751
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $184.54
         Tansoo Inc.                                                Contingent
         102 NE 2nd Avenue #276                                     Unliquidated
         Boca Raton, FL 33432                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $90.00
         The Kennedy Law Group PLLC                                 Contingent
         19240 51st Avenue NE                                       Unliquidated
         Seattle, WA 98155                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 10 of 13
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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,100.00
         The Pallet Company                                         Contingent
         3501 Eubanks                                               Unliquidated
         Wylie, TX 75098                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $8,247.33
         The Reese Group                                            Contingent
         2820 Bransford Avenue                                      Unliquidated
         Nashville, TN 37204                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,560.10
         U-Moo Products, Inc.                                       Contingent
         17868 Cassidy Place                                        Unliquidated
         Chino Hills, CA 91709                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $45,000.00
         Umbra                                                      Contingent
         1705 Broadway                                              Unliquidated
         Buffalo, NY 14212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,848.73
         US Bank                                                    Contingent
         800 Nicollet Mall                                          Unliquidated
         Minneapolis, MN 55402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7554
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $35,803.02
         US Bank                                                    Contingent
         800 Nicollet Mall                                          Unliquidated
         Minneapolis, MN 55402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2355
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $9,409.55
         US Bank                                                    Contingent
         800 Nicollet Mall                                          Unliquidated
         Minneapolis, MN 55402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9988
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 11 of 13
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Debtor       Grand Fusion Housewares, LLC                                                           Case number (if known)            24-41694
             Name

3.69      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,466.13
          Worldwide Express                                                 Contingent
          2700 Commerce Street, Suite 1500                                  Unliquidated
          Dallas, TX 75226                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes
3.70      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $60,225.36
          Wuxi Rayshine Industrial & Trading Co                             Contingent
          4-5th Floor, Chiway Center No. 2166-1                             Unliquidated
          Taihu Avenue Wuxi                                                 Disputed
          Jiangsui 214072 China
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No  Yes
3.71      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $180,103.92
          Xiaofei (Della) Ou                                                Contingent
          17868 Cassidy Place                                               Unliquidated
          Chino Hills, CA 91709                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Loans
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes
3.72      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,323.55
          Xivestory Korea                                                   Contingent
          Bundang Technopark A-complex B210                                 Unliquidated
          Pangyo-Ro 697                                                     Disputed
          Bundang-Gu Seongnam-si Korea
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Boxed LLC
          PO Box 356                                                                                Line      3.9
          Massapequa, NY 11758
                                                                                                          Not listed. Explain

4.2       Dierberts Markets, Inc.
          16690 Swingley Ridge Road                                                                 Line      3.18
          Chesterfield, MO 63017
                                                                                                          Not listed. Explain

4.3       Lee & Associates
          c/o Jay Evans                                                                             Line      3.40
          Muncsh Hardt Kopf Harr
          500 N. Akard St., Suite 4000                                                                    Not listed. Explain

          Dallas, TX 75201


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 13
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            Name

                                                                                                               0.00
5b. Total claims from Part 2                                                     5b.   +   $           1,839,069.04

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                          5c.       $             1,839,069.04




Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                            Page 13 of 13
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Fill in this information to identify the case:

Debtor name        Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS

Case number (if known)      24-41694
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Sublease of premises
             lease is for and the nature of       located 1215 W. Crosby
             the debtor's interest                Road, Bldg. 100, Ste.
                                                  100, Carrollton, Texas
                State the term remaining          July 31, 2027
                                                                                    Accelevation LLC
             List the contract number of any                                        235 S Pioneer Blvd
                   government contract                                              Springboro, OH 45066


2.2.         State what the contract or           Lease/financing
             lease is for and the nature of       agreement for forklift
             the debtor's interest

                State the term remaining          June 8, 2026
                                                                                    Alliance Funding Group
             List the contract number of any                                        17542 17th Street #200
                   government contract                                              Tustin, CA 92780


2.3.         State what the contract or           Cyber insurance
             lease is for and the nature of
             the debtor's interest

                State the term remaining          September 22, 2024
                                                                                    Coalition Insurance Solutions
             List the contract number of any                                        100 Bank Street, Suite 630
                   government contract                                              Burlington, VT 05401


2.4.         State what the contract or           Industrial lease of
             lease is for and the nature of       warehouse space
             the debtor's interest                located at 1215 W.
                                                  Crosby Road, Bldg.
                                                  100, Ste. 100,
                                                  Carrollton, Texas
                State the term remaining          July 31, 2027                     MLRP 1215 Crosby LLC
                                                                                    c/o ML Realty Partners, LLC
             List the contract number of any                                        One Pierce Place, Suite 450-W
                   government contract                                              Itasca, IL 60143


Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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Debtor 1 Grand Fusion Housewares, LLC                                            Case number (if known)   24-41694
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or         Property, General
          lease is for and the nature of     Liability, Commercial
          the debtor's interest              Auto, and Umbrella
                                             insurance policies
                                             Policy numbers
                                             ZD3D69312007 and
                                             UH3D69312105
             State the term remaining        September 22, 2024
                                                                         The Hanover Insurance Group Inc.
          List the contract number of any                                440 Lincoln Street
                government contract                                      Worcester, MA 01653




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
         Case 24-41694-mxm11                 Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                     Desc Main
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Fill in this information to identify the case:

Debtor name       Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS

Case number (if known)   24-41694
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



           Name                       Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1     Blieden Living             [Address on file]                                        Celtic Bank                     D       2.1
           Trust                                                                               Corporation                      E/F
                                                                                                                               G



   2.2     Brendan Bauer              [Address on file]                                        Alliance Funding                D
                                                                                               Group                            E/F        3.5
                                                                                                                               G



   2.3     Brendan Bauer              [Address on file]                                        American Express                D
                                                                                                                                E/F        3.6
                                                                                                                               G



   2.4     Brendan Bauer              [Address on file]                                        Celtic Bank                     D       2.1
                                                                                               Corporation                      E/F
                                                                                                                               G



   2.5     Brendan Bauer              [Address on file]                                        First Citizens                  D       2.2
                                                                                               Community Bank                   E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 5
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Debtor    Grand Fusion Housewares, LLC                                            Case number (if known)   24-41694


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Brendan Bauer            [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G



  2.7     Brendan Bauer            [Address on file]                                   Propella Capital LLC           D      2.4
                                                                                                                       E/F
                                                                                                                      G



  2.8     Brendan Bauer            [Address on file]                                   Rapid Finance                  D      2.5
                                                                                                                       E/F
                                                                                                                      G



  2.9     Brendan Bauer            [Address on file]                                   Silverline Services            D      2.6
                                                                                       Inc.                            E/F
                                                                                                                      G



  2.10    Brendan Bauer            [Address on file]                                   Smart Business                 D      2.7
                                                                                                                       E/F
                                                                                                                      G



  2.11    Brendan Bauer            [Address on file]                                   U.S. Small Business            D      2.8
                                                                                       Administration                  E/F
                                                                                                                      G



  2.12    Brendan Bauer            [Address on file]                                   Wells Fargo                    D      2.9
                                                                                                                       E/F
                                                                                                                      G



  2.13    Debra Bauer              [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 5
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Debtor    Grand Fusion Housewares, LLC                                            Case number (if known)   24-41694


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Elayne Blieden           [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G



  2.15    Elayne Blieden           [Address on file]                                   Celtic Bank                    D      2.1
                                                                                       Corporation                     E/F
                                                                                                                      G



  2.16    Hilton Blieden           [Address on file]                                   Alliance Funding               D
                                                                                       Group                           E/F    3.5
                                                                                                                      G



  2.17    Hilton Blieden           [Address on file]                                   American Express               D
                                                                                                                       E/F    3.6
                                                                                                                      G



  2.18    Hilton Blieden           [Address on file]                                   Capital One                    D
                                                                                                                       E/F    3.12
                                                                                                                      G



  2.19    Hilton Blieden           [Address on file]                                   Celtic Bank                    D      2.1
                                                                                       Corporation                     E/F
                                                                                                                      G



  2.20    Hilton Blieden           [Address on file]                                   First Citizens                 D      2.2
                                                                                       Community Bank                  E/F
                                                                                                                      G



  2.21    Hilton Blieden           [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 3 of 5
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.22    Hilton Blieden           [Address on file]                                   Propella Capital LLC           D      2.4
                                                                                                                       E/F
                                                                                                                      G



  2.23    Hilton Blieden           [Address on file]                                   Rapid Finance                  D      2.5
                                                                                                                       E/F
                                                                                                                      G



  2.24    Hilton Blieden           [Address on file]                                   Silverline Services            D      2.6
                                                                                       Inc.                            E/F
                                                                                                                      G



  2.25    Hilton Blieden           [Address on file]                                   Smart Business                 D      2.7
                                                                                                                       E/F
                                                                                                                      G



  2.26    Hilton Blieden           [Address on file]                                   U.S. Small Business            D      2.8
                                                                                       Administration                  E/F
                                                                                                                      G



  2.27    Hilton Blieden           [Address on file]                                   US Bank                        D
                                                                                                                       E/F    3.66
                                                                                                                      G



  2.28    Hilton Blieden           [Address on file]                                   Wells Fargo                    D      2.9
                                                                                                                       E/F
                                                                                                                      G



  2.29    Xiaofei Ou               [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 4 of 5
     Case 24-41694-mxm11                 Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                               Desc Main
                                              Document    Page 32 of 33
Debtor    Grand Fusion Housewares, LLC                                            Case number (if known)   24-41694


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.30    Xiaofei Ou               [Address on file]                                   US Bank                        D
                                                                                                                       E/F    3.66
                                                                                                                      G



  2.31    Xiaofei Ou               [Need address]                                      Wells Fargo                    D      2.9
                                                                                                                       E/F
                                                                                                                      G



  2.32    Xudong Niu               [Address on file]                                   Midwest Regional               D      2.3
                                                                                       Bank                            E/F
                                                                                                                      G




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 5 of 5
      Case 24-41694-mxm11                      Doc 52 Filed 06/13/24 Entered 06/13/24 20:23:40                                     Desc Main
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Fill in this information to identify the case:

Debtor name         Grand Fusion Housewares, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS

Case number (if known)    24-41694
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 13, 2024                   X    /s/ Hilton Blieden
                                                             Signature of individual signing on behalf of debtor

                                                             Hilton Blieden
                                                             Printed name

                                                             Authorized Representative
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
